1:17-cv-01354-JES # 22   Page 1 of 24
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1:17-cv-01354-JES # 22   Page 2 of 24
1:17-cv-01354-JES # 22   Page 3 of 24
1:17-cv-01354-JES # 22   Page 4 of 24
1:17-cv-01354-JES # 22   Page 5 of 24
1:17-cv-01354-JES # 22   Page 6 of 24
1:17-cv-01354-JES # 22   Page 7 of 24
1:17-cv-01354-JES # 22   Page 8 of 24
1:17-cv-01354-JES # 22   Page 9 of 24
1:17-cv-01354-JES # 22   Page 10 of 24
1:17-cv-01354-JES # 22   Page 11 of 24
1:17-cv-01354-JES # 22   Page 12 of 24
1:17-cv-01354-JES # 22   Page 13 of 24
1:17-cv-01354-JES # 22   Page 14 of 24
1:17-cv-01354-JES # 22   Page 15 of 24
1:17-cv-01354-JES # 22   Page 16 of 24
1:17-cv-01354-JES # 22   Page 17 of 24
1:17-cv-01354-JES # 22   Page 18 of 24
1:17-cv-01354-JES # 22   Page 19 of 24
1:17-cv-01354-JES # 22   Page 20 of 24
1:17-cv-01354-JES # 22   Page 21 of 24
1:17-cv-01354-JES # 22   Page 22 of 24
1:17-cv-01354-JES # 22   Page 23 of 24
1:17-cv-01354-JES # 22   Page 24 of 24
